                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DMSION
                                 No. 5:18-CT-3118-D


MIGUEL MARQUEZ-MARTINEZ, a/k/a                   )
BRIANNA MARQUEZ-MARTINEZ,                        )
                                                 )
                                 Plaintiff,      )
                                                 )                  ORDER
                       v.                        )
                                                 )
UNITED STATES OF AMERICA, et al.,                )
                                                 )
                                 Defendants.     )


       On May 21, 2018, Miguel Marquez-Martinez a/k/a Brianna Marquez-Martinez ("Marquez-

Martinez" or ''plaintiff''), a form.er federal inln8:te proceeding through counsel, filed a complaint

against the United States of America and various employees of the Federal Correctional Complex
                                                                                           .
in Butner, North Carolina ("Butner") [D.E. 3]. On October 15, 2018, the United States filed a

certification of scope ofemployment and notice of substitution for defendants Warden J.C. Holland,

Nurse Reed, 1 Officer Reyes, Angela Walden Weaver, and Counselor Wiggins (the "individual

defendants") [D.E. 36, 38], moved to dismiss Marquez-Martinez's complaint [D.E. 39], and filed

a memorandum in support [D.E. 40, 41].2 These defendants also requested leave to file a responsive

pleading and to stay discovery pending the court's ruling on the motion to dismiss [D.E. 60, 61].3



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           The proper spelling of this defendant's name is "Reid." See [D.E. 4~] 1 n.1.
       2
        On November 26, 2018, Marquez-Martinez responded in opposition [D.E. 47]. On
December 11, 2018, the United States replied [D.E. SO].
       3
           On March 26, 2019, Marquez-Martinez responded in opposition to the motion for leave
to file a responsive pleading [D.E. 64]. On April 23, 2019, the individual defendants replied [D.E.
67].


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On January 4, 2019, Calvin Terrance Davis ("Davis") answered the comphtlnt [D.E. 56]. As

explained below, the court grants in part the pending motions.

                                                   I.

       Marquez-Martinez is a transgender woman and a citizen of Mexico. Compl. [D.E. 3] ft 1,

25. In October 2015, Marquez-Martinez entered the United States seeking asylum based on

harassment and sexual violence that she experienced due to her gender identity. See id. ft 26-27.

In particular, Marquez-Martinez alleges that she ''was kidnapped by sex traffickers, held hostage,

drugged, and repeatedly raped."   Id.~ 26;   see id. ft 27, 30. Although the United States eventually

granted Marquez-Martinez's asylum request, she initially was "detained in federal custody on

grounds that her entry to the country was a federal crime." Id.        ~.   28. Before being detained,

Marquez-Martinez had started hormone treatments in order to transition and presented as a woman

(i.e., Marquez-Martinez's ''physical appearance was 'traditionally' feminine"). See id. ft 2-3, 39.

       In.February 2016, Marquez-Martinez was transferred to the Federal Medical Center at Butner

("FMC Butner'') for a competency evaluation and Butner staff knew that she was a transgender

woman. See id. ft30-31, 36-38. WhileatButner,Marquez-Martinezexperienced "constant sexual

harassment and assault, including by staff."   Id.~ 34.   For example, Marquez-Martinez alleges that

she experienced ''frequent unjustified strip-searches and pat-downs in which" correctional officers

examined, touched, and groped "[her] body, including her breasts and genitals," that correctional

officers, without justification, frequently watched her shower and undress, and that individuals

verbally harassed her based on her "gender identity, attire, and physical appearance," including "the

size and shape of her body, ... her breasts, and the details of her genitalia." Id. ft 44-55.

Additionally, Marquez-Martinez alleges that Reyes, a correctional officer, "repeatedly tossed [her]

cell" to harass and humiliate her, rather than for a legitimate reason. Id. ~ 56. Marquez-Martinez

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further alleges that several defendants ''were aware ofthe harm being done to [her] and deliberately

did not stop it." Id.      ft   58-59. Marquez-Martinez also alleges that, when she ''repeatedly

complained" to several defendants "about the pervasive sexual harassment and assault," they did not

intervene.   Id.~ 61;   see id. ft 63--64.

        On May 18, 2016, Davis, then a Butner correctional officer, forced Marquez-Martinez to

perform oral sex on him. Id. ft ~7, 35, 69-79. During the assault, Marquez-Martinez could not

breathe, repeatedly gagged, and Davis's belt buckle hit her in the face. See id.     ft 75-76.   After

ejaculating in her mouth, Davis instructed Marquez-Martinez to wash up. Id.          ~   78. Marquez-

Martinez preserved two items of clothing (her shirt and brassiere) that she was wearing when Davis

assaulted her because they contained Davis's semen. Id.        ft 79, 81-82.   However, based on the

pervasive sexual harassment that she experienced, Marquez-Martinez ''feared that Butner staffwould

destroy that evidence if she reported the rape," so she ''kept the shirt in her own cell [and gave] the

bra ... to another prisoner to keep in his cell." Id. ft 80-82.

        Once she "secured" the clothing containing Davis's semen, Marquez-Martinez reported the

assault to Butner staff.   Id.~ 83.   Butner staff responded by "discouraging [her] from seeking legal

remedies, knowingly failing to preserve vital evidence, and moving [her] to a different FCC Butner

building, placing her in administrative segregation for several weeks, and restricting her access to

recreation."   Id.~   8; see id. ft 84, 89-90, 92. For example, after Marquez-Martinez reported the

assault, Butner staff members went to her cell and packed up her belongings, including the shirt

containing Davis's semen. See id.~ 85. Although Marquez-Martinez told the staff members about

the significance of the shirt, she alleges that they "did not preserve the evidence." Id. Marquez-

Martinez also alleges that Warden Holland failed to preserve other evidence,· including videotape

evidence, even after he received a letter from her attorney "specifically instiucting him to preserve"

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the evidence. Id. ft 87-88; see id. ft 98-99.4 Additionally, Marquez-Martinez alleges that Wiggins,

a counselor, ''retaliated against [her] by threatening to and attempting to punch or otherwise strike

[her], causing [her] fear and apprehension." Id.       ~   86. Marquez-Martinez further alleges that

defendants restricted her access to recreation (e.g., by forcing Marquez-Marinez to spend recreation

time alone) "because [they] learned that [she] was trying to vindicate her legal rights and seek redress

for [d]efendants' violations of [her] legal rights." Id. ft 92-93.

        Marquez-Martinez asserts numerous legal claims. See id. ~ 110. First, Marquez-Martinez

alleges a claim under the Federal Tort Claims Act ("FTCA"), 28 U.S.C. § 2671 et~ See id. Next,

Marquez-Martinez alleges claims under North Carolina law for intentional infliction of emotional

distress ("IIED"), negligent infliction of emotional distress (''NIED"), negligence, assault and

battery, injury to prisoner by jailer under N.C. Gen. Stat. § 162-55, obstruction of justice, and

violating Article I, Section 19 of the North Carolina Constitution. See id. Finally, Marquez-

Martinez alleges that defendants are liable ''for their own direct infliction of injuries, for failing to

intervene despite a known substantial risk of harm, and/or for their roles in the conspiracy under

[North Carolina] common law or N.C. [Gen. Stat. § 99D-1]." Id. Marquez-Martinez seeks

"compensatory damages, punitive damages, treble damages under N.C. [Gen. Stat. § 162-55],

attorneys' fees, and any other relief [the court] deems appropriate." Id.

        On May 22, 2017, the Federal Bureau of Prisons ("BOP") received an administrative tort

claim that Marquez-Martinez filed against the United States, the BOP, Davis, and unidentified "Does

1through100." See Ex. 1[D.E.40-2] 1, 3; Ex. A [D.E. 47-1] 1, 3. In the claim, Marquez-Martinez



        4
         The United States prosecuted Davis for assaulting Marquez-Martinez. See Compl. [D.E.
3] ft 96-100. Davis pleaded guilty to one count of sexual abuse of a ward in violation of 18 U.S.C.
§ 2243(b). See United States v. Davis, 5:17-CR-149-FL, [D.E. 10] (E.D.N.C. June 15, 2017).

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alleged that she ''was repeatedly victimized· and sexually assaulted based on her transgender

appearance and identification" and that"[o]flicials at FMC Butner failed to properly classify, house,

and protect [her] from harm at the hands of other inmates and staff.'' E.g., [D.E. 40-2] 4. Marquez-

Martinez further alleged that she ''was repeatedly raped and sexually assaulted by fellow male

inmates and ultimately, by [Davis]" on May 18, 2016. Id. Marquez-Martinez concluded that the

United States was liable under the FTCA for assault, battery, negligence, IIED, and NIED and that

Davis and other individuals were liable under Bivens v. Six Unknown Named Agents of Federal

Bureau ofNarcotics, 403 U.S. 388 (1971 ), for violating her Fifth and Eighth Amendment rights. See

id. at4-5.

                                                  II.

        A motion to dismiss under Federal Rule of Civil Procedure 12(b)(l) tests subject-matter

jurisdiction, which is the court's "statutory or con8titutional power to adjudicate the case." Steel Co.

v. Citizens for a Better Env't, 523 U.S. 83, 89 (1998) (emphasis omitted); see Holloway v. Pagan

River Dockside Seafood. Inc., 669 F.3d 448, 453 (4th Cir. 2012); Constantine v. Rectors & Visitors

ofGeorge Mason Univ., 411F.3d474,479-80 (4th Cir. 2005). A federal court ''must determine that

it has subject-matter jurisdiction over the case before it can pass on the merits of that case."

Constantine, 411 F.3d at 479-80. "[T]he party invoking federal jurisdiction bears the burden of

establishing its existence." Steel Co., 523 U.S. at 104; see, e.g.,Ev8.nsv. B.F. Perkins Co., 166F.3d

642, 647 (4th Cir. 1999). In considering a motion to dismiss for lack of subject-matter jurisdiction,

the court may consider evidence outside the :Pleadings without converting the motion into one for

summary judgment.      See,~     Richmond. Fredericksburg & Potomac R.R. v. United States, 945

F.2d 765, 768 (4th Cir. 1991).



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       A motion to dismiss under Rule 12(b)(6) tests the complaint's legal and factual sufficiency.

SeeAshcroftv. Iqbal, 556 U.S. 662, 677-80 (2009); BellAtl. Cor.p. v. Twombly, 550 U.S. 544, 554-

63 (2007); Coleman v. Md. Court ofAppeals, 626F.3d 187, 190 (4th Cir. 2010); aff'd, 566U.S. 30

(2012); Giarratano v. Johnson, 521 F.3d 298, 302 (4th Cir. 2008). To withstand a Rule 12(b)(6)

motion, a pleading ''must contain sufficient factual matter, accepted as tnie, to state a claim to relief

that is plausible on its face." Iqbal, 556 U.S. at 678 (quotation omitted); see Twombly, 550 U.S. at

570; Giarratano, 521 F.3d at 302. In considering the motion, the court must construe the facts and

reasonable inferences "in the light most favorable to the [nonmovirig party]." Massey v. Ojaniit, 759

F.3d 343, 352 (4th Cir. 2014) (quotation omitted); see Clatterbuck v. City of Charlottesville, 708

F.3d 549, 557 (4th Cir. 2013), abrogated on other grounds by Reed v. Town of Gilb~ 135 S. Ct.

2218 (2015). A court need not accept as true a complaint's legal conclusions, ''unwarranted

inferences, unreasonable conclusions, or arguments." Giarratano, 521 F.3d at 302 (quotation

omitted); see Iqbal, 556 U.S. at 67S-79. Rather, a plaintiff's allegations must ''nudge[] [her]

claims," Twombly, 550 U.S. at 570, beyond the realm of ''mere possibility'' into ''plausibility."

Iqbal, 556 U.S. at 67S-79.

                                                  A.
        The United States first argues that the court lacks subject-matter jurisdiction over Marquez-

Martinez's FTCA claims of conspiracy, transfer and retaliation, and obstruction ofjustice because

Marquez-Martinez did not include these claims in her administrative tort claim. See [D.E. 41] 10.

Under the FTCA's notice-of-claim provision,

        [a]n action shall not be instituted upon a claim against the United States for money
        damages for injury or loss of property or personal injury or death caused by the
        negligent or wrongful act or omission of any employee of the Government while
      . acting within the scope of his office or employment, unless the claimant shall have
        first presented the claim to the appropriate Federal agency and his claim shall have

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       been finally denied by the agency in writing and sent by certified or registered mail.

28 U.S.C. § 2675(a). Failure to administratively exhaust an FTCA claim is a jurisdictional defect .

and deprives a district court of subject-matter jurisdiction. See Kokotis v. U.S. Postal Serv., 223

F.3d 275, 278 (4th Cir. 2000); Plyler v. United States, 900 F.2d 41, 42 (4th Cir. 1990).

       The notice-of-claim requirement "is an eminently pragmatic one: as long as the language of

an administrative claim serves due notice that the agency should investigate ·the possibility of

particular (potentiallytortious) conduct and includes a specification ofthe damages sought, it fulfills

thenotice-of-claimrequirement." Dynamic Image Techs.. Inc. v. UnitedStates,221 F.3d34,40(1st

Cir. 2000); see Estate ofTrentadue ex rel. Aguilar v. United States, 397 F.3d 840, 852-53 (10th Cir.

2005). The administrative claim's language must provide the agency with ''notice of the facts and

circumstances underlying a claim rather than the exact lirounds up~n which [the] plaintiff seeks to

hold the government liable." Trentadue, 397 F.3d at 853; see Dynamic Image Techs., 221 F.3d at

40; Drew v. United States, 217 F.3d 193, 198 (4th Cir. 2000), vacated and reh'g en bane granted

(Sept. 8, 2000), aff'd by equally divided court without opinion sub nom., Drew ex rel. Drew v.
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United States, 231F.3d927 (4th Cir. 2000) (en bane); Conn v. United States, 867F.2d916, 918-19

(6th Cir. 1989); Tilga v. United States, No. 14-256 JAP/RHS, 2014 WL 12783121, at *19 (D.N.M.

Dec. 5, 2014) (unpublished). Thus, Marquez,.Martinez did not have to list every potential cause of

action inher administrative claim, and her administrative claim "gave the agency enough facts about

the incidents to enable the Department of Justice to conduct a meaningful investigation." Tilga.

2014 WL 12783121, at *19. Thus, the court denies the motion to dismiss any conspiracy claim or

obstruction of justice claim for failure to exhaust under the FTCA. However, the court grants

defendants' motion to dismiss Marquez-Martinez's FTCA claim based on trapsfer and retaliation

because Marquez-Martinez failed to address the claim in her response. Cf. [p.E. 47] 9-11.

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                                                 B.
       The United States argues that the court lacks subject-matter jurisdiction over Marquez-

Martinez's FTCA claims for wrongful searches and wrongful transfer .due to the discretionary

function exception. See [D.E. 41] 11-15. Under the FTCA, the United States waives sovereign

immunity for ''the negligent or wrongful act or omission of any eniployee of the Government while

acting within the scope of his office or employment." 28 U.S.C. § 1346(b)(l); see Millbrook v.

United States, 569 U.S. 50, 51-52 (2013); Levin v. United States, 568 U.S. 503, 506 (2013);

Anderson v. United States, 669F.3d161, 164 (4th Cir. 2011); Kerns v. United States, 585 F.3d 187,

194 (4th Cir. 2009). A prisoner "can sue under the [FTCA] to recover damages from the United

States Government for personal injuries sustained during confinement in a federal prison, by reason

of the negligence of a government employee." United States v. Muniz, 374 U.S. 150, 150 (1963)
                                                                                '
(footnote omitted); see Millbrook, 569 U.S. at 52. A plaintiff must "show that an unequivocal

waiver of sovereign immunity exists." Welch v. United States, 409 F.3d 646, 651 (4th Cir. 2005).

"If the plaintiff fails to meet this burden, then the claim must be dismissed." Id.

       Under the FTCA' s discretionary function exception, the United States is not liable under the

FTCA for "[a]ny claim based upon ... the exercise or performance or the f8.ilure to exercise or

perform a discretionary function or duty on the part of a federal agency or an employee of the

Government, whether or not the discretion involved be abused." 28 U.S.C. § 2680(a). "The

discretionary function exception marks the boundary between Congress' willingness to impose tort

liability upon the United States and its desire to protect certain governmental activities from

exposure to suit by private individuals." Holbrook v. United States, 673 F.3d 341, 345 (4th Cir.

2012) (quotation omitted); see United States v. S.A. Empresade Viacao AereaRio Grandense (Yarig

Airlines),467U.S. 797, 808 (1984). However, ''theFTCA'sdiscretionaryfunctionexceptiondoes

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not provide a blanket immunity against tortious conduct that a plaintiff plausibly alleges also flouts

a constitutional prescription." Loumiet v. United States, 828 F.3d 935, 943 (D.C. Cir. 2016);

see Medina v. United States, 259 F.3d 220, 225 (4th Cir. 2001).

       In analyzing whether to apply the discretionary function exception, the court must first

identify ''the conduct at issue" that led to the alleged injury. S.R.P. ex rel. Abunabba v. United

States, 676 F.3d 329, 332 (3d Cir. 2012). The court then employs a two-part test to determine

whether the discretionary function exception bars Marquez-Martinez's claim. See United States v.

Gaubert, 499 U.S. 315, 322-23 (1991). First, the court must determine whether the conduct

"involve[d] an element of judgment or choice." Id. at 322 (quotation and·alteration omitted); see

Berkovitz ex rel. Berkovitzv. United States, 486U.S. 531, 536 (1988); Holbrook, 673 F.3dat345.

"A government employee's conduct does not involve discretion where a federal statute, regulation,

or policy specifically prescribes a course of action for an employee to follow and the employee has

no rightful option but to adhere to the directive." Holbrook, 673 F.3d at 345 (quotations omitted).

"Where, however, a regulation authorizes or requires employee discretion, it must be presumed that

the agent's acts are grounded in policy when exercising that discretion." Id. (quotation omitted).

Second, ifthe alleged conduct involves an element ofjudgment, the court must.determine ''whether

that judgment is of the kind that the discretionary function exception was designed to shield."

Gaubert, 499 U.S. at 322-23 (quotation omitted); see Berkovitz, 486 U.S. at 536; Holbrook, 673

F.3d at 345. "Because the purpose of the exception is to prevent judicial_ 'second-guessing' of

legislative and administrative decisions grounded in social, economic, and political policy ... the

exception protects only governmental actions and decisions based on considerations of public

policy." Gaubert, 499 U.S. at 323 (quotations omitted).

       Marquez-Martinez alleges that the "strip-searches and pat-downs were not done in a good

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faith effort to maintain or restore security or discipline," but rather ''were meant to degrade and

humiliate [Marquez-Martinez], to exert arbitrary control over her body, and to satisfy the

perpetrators' own sexual desires and curiosities." Compl. [D.E. 3] ft 47-48. Marquez-Martinez

also alleges that officers ''repeatedly tossed [her] cell for no legitimate reason, motivated by a desire

to harass and humiliate rather than by a legitimate justification."          Id.~   56. The United States

responds that the discretionary function exception bars Marquez-Martinez's claims concerning cell

searches and pat down searches because such searches are governed by BOP Program Statements

and regulations that "imposeO no duty on BOP staff to determine how or when the searches are to

be conducted." [D.E. 41] 13-14.

        "When addressing claims of negligent pat down and metal detection searches, other courts

have found that the discretionary function exception applies because officers maintain discretion in

how to conduct the searches." Scarborough v. United States, No. 15-CV-242-KLM, 2017 WL

1243014, at *6 (D. Colo. Mar. 17, 2017) (unpublished) (collecting cases); see Alfrey v. United

States, 276 F.3d 557, 565 (9th Cir. 2002); Calderon v. United States, 123 F.3d 947, 949 (7th Cir.

1997); Sledge v. United States, 723 F. Supp. 2d 87, 96 (D.D.C. 2010). By contrast, Marquez-
                                                                     '   '             '

Martinez alleges that correctional officers conducted cell searches and pat down searches in a

manner that "cannot be said to be based on the purposes that the regulatory regime seeks to

accomplish."   Gaub~     499 U.S. at 325 n.7; cf. Keller v. United States, 771 F.3d 1021, 1024 (7th

Cir. 2014); Triestman v. Fed. Bureau of Prisons, 470 F.3d 471, 475-76 (2d Cir. 2006); Montez ex

rel. Estate ofHearlson v. United States, 359 F.3d 392, 398 (6th Cir. 2004); Santana-Rosa v. United

States, 335 F.3d 39, 44--45 (1st Cir. 2003); Padilla v. United States, No. LACV 09-5651, 2012 WL

12882367, at *6 (C.D. Cal. Oct. 9, 2012)(unpublished). Here, the court denies the motion to dismiss

Marquez-Martinez's claim concerning the cell searches and pat .down searches. Defendant may

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reassert the discretionary function exception on a more complete record. See, e.g., Rich v. United

States, 811 F.3d 140, 148 (4th Cir. 2015); Keller, 771 F.3d at 1024; Sledge, 723 F. Supp., 2d at 98.

However, the court grants defendants' motion to dismiss Marquez-Martinez's FTCA claim based

on wrongful transfer because Marquez-Martinez failed to address the claim in her response.

Cf. [D.E. 47] 14--17.

                                                 c.
       The United States argues that the intentional tort exception bars Marquez-Martinez's claims

based on Davis's or other officers' intentional sexual abuse or harassment because these defendants

were not acting within the scope oftheir employment. See [D.E. 41] 16--19. "[A] law enforcement

officer's acts or omissions may give rise to an actionable tort claim under the FTCA" where the

conduct "arise[s] from one of . . . six enumerated intentional torts and . . . the law enforcement

officer's acts or omissions ... fall within the scope of his office or employment." Millbrook, 569

U.S. at55 (quotations omitted); seeJgnaciov. United States, 674F.3d252,255 (4th.Cir. 2012). The

court looks to North Carolina law to determine whether the officers' acts were within the scope of

their employment. See Kerns, 585 F.3d at 194.

       Under North Carolina law, "[a]n employer may be liable for a battery committed by its

employee if it authorized the tortious behavior, if the act occurred while the employee was acting

within the scope of his employment, or if the employer ratified the conduct after the fact." Wilson

v. Gaston C1y., 145 F. Supp. 3d 549, 559 (W.D.N.C. 2015), aff'd, 685 F. App'x 193, 202 (4th Cir.

2017) (unpublished). "For an employee's wrongful act to be done in the scope of his employment,

it must be in furtherance of the principal' s business and for the purpose of accomplishing the duties

of his employment." Watts v. Bell, 227 N.C. App. 456, 744 S.E.2d 496, 2013 WL 2189949, at *3

(2013) (unpublished table decision) (quotation omitted); see Medlin v. Bass, 327 N .C. 587, 589-91,

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398 S.E.2d 460, 463-64 (1990); Mercier v. Daniels, 139 N.C. App. 588, 592, 533 S.E.2d 877, 880

(2000). To establish ratification, Marquez-Martinez must show that the United States "had

knowledge ofall material facts and circumstances relative to the wrongful act, and that the employer,

by words or conduct, show[ed] an intention to ratify the act." Hogan     v. Forsyth Country Club Co.,
79N.C. App. 483, 492, 340S.E.2d116, 122 (1986); see Jackson v. Kimel, 992 F.2d 1318, 1322 (4th

Cir. 1993); Wilso~ 145 F. Supp. 3d at 559.

       Marquez-Martinez does not plausibly allege that de~endants authorized the tortious behavior

or that the behavior was within the scope of employment. Instead, Marquez-Martinez seeks to show

that defendants ratified the behavior. "[W]hen the scope-of-employment issue is determinative of

both jurisdiction and the underlying merits of an FTCA claim, dismissal under Rule 12(b)(1) is

inappropriate, unless the jurisdictional allegations are clearly immaterial or wholly unsubstantial and

frivolous." Kerns, 585 F.3d at 196. Marquez-Martinez alleges that correctional officers subjected

her to ''pervasive sexual harassment and assault ... in the open" and that Warden Holland ''was

aware of [Davis]'s illegal conduct, but [he] did not preserve the relevant evidence, including

videotape evidence." Compl. [D.E. 3] W44, 88. Marquez-Martinez's allegations are not clearly

immaterial or wholly unsubstantial and frivolous. Although Marquez-Martinez "appears to face a

daunting task with respect to" showing ratification, the court denies the motion to dismiss Marquez-

Martinez' s FTCA claims concerning Davis's or other officers' conduct to.allow the parties ''to

conduct discovery'' on the ratification issue. Kerns, 585 F.3d at 196.

                                                  D.
       The United States moves to dismiss Marquez-Martinez's claims for negligence, NIED,

obstruction of justice, common law civil conspiracy, injury to a prisoner by a jailer in yiolation of

N.C. Gen. Stat.§ 162-55, violation ofN.C. Geri. Stat.§ 99D-1, and violation of Article I, Section

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19 of the North Carolina Constitution. See [D.E. 41] 19--26; Fed. R. Civ. P. 12(b)(6).

       As for Marquez-Martinez's state constitutional claim, Marquez-Martinez did not respond to

defendants' argument concerning dismissal of her claim under Article I, Section 19 of the North

Carolina Constitution. Cf. [D.E. 47] 18-33. Accordingly, the court dismisses Marquez-Martinez's

state constitutional claim.

       As for Marquez-Martinez's claim for injury to a prisoner by a jailer, N .C. Gen. Stat. § 162-55

provides:

       If the keeper of a jail shall do, or cause to be done, any wrong or injury to the
       prisoners committed to his custody, contrary to law, he shall not only pay treble
       damages to the person injured, but shall be guilty of a Class 1 misdemeanor.

N.C. Gen. Stat. § 162-55. However, ''the duty of care owed by the [BOP] to federal prisoners is

fixed by 18 U.S.C. § 4042, independent of an inconsistent state rule." Muniz, 374 U.S. at 164-65.

Thus, to the extent that N.C. Gen. Stat. § 162-55 conflicts with the duty fixed by 18 U.S.C. § 4042,

the court grants the motion to dismiss. See id.; cf. Massay v. Fed. Corr.    Inst.-Texar~         243 F.

App'x 871, 873 (5th Cir. 2007) (per curiam) (unpublished); Friedman v. United States, 221 F.3d

1334 (table), 2000 WL 876391, at *3 (6th Cir. 2000) (unpublished); A.L.T. Com. v. Small Bus.

Adm.in., 801 F.2d 1451, 1462 (5th Cir. 1986); Mays v. Smith, No. 5:18-CT-3186-FL, 2019 WL

958401, at *7 (E.D.N.C. Feb. 27, 2019) (unpublished); Escamilla v. United States, No.

EP-14-CV-246-FM, 2015 WL 12734050, at *3 (W.D. Tex. Jan. 29, 2015) (unpublished); Martinez

v. United States, No. CIV-11-830-F, 2014 WL 1338119, at *12 n.11 (W.D. Okla. Mar. 28, 2014)

(unpublished); Muhammed v. United States, 6 F. Supp. 2d 582, 594 (N.D. Tex. 1998).

       As for Marquez-Martinez's conspiracy cla.inis, Marquez-Martinez asserts a common law

conspiracy claim and a claim under N.C. Gen. Stat. § 99D-1, which prohibits a conspiracy among

       [t]wo or more persons, motivated by race, religion, ethnicity or gender~ .. to interfere

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       with the exercise or enjoyment by any other person or persons of a right secured by
       the Constitutions of the United States or North Carolina, or of a right secured by a
       law of the United States or North Carolina that enforces, interprets, or impacts on a
       constitutional right.

N.C. Gen. Stat. § 990-l(a)(l). The United States cannot conspire with itself. See, e.g., Thomas v.

Cumberland Cty. Bd. of Educ., No. 5:10-CV-552-FL, 2012WL1825798, at *6 (E.D.N.C. Jan. 27,

2012) (unpublished), report and recommendation adop~ 2012 WL 1825703 (E.D.N.C. May 18,

2012)(unpublished); Stanley v. Wentworth Voluntary Fire Dep't Inc., No. 1: 10-CV-380, 2011 WL

3665009,at*l7(M.D.N.C.Aug.17,20ll)(unpublished);Iglesiasv. Wolford,539F.Supp.2d831,

836--38 (E.D.N.C. 2008); see also Bowling v. United States, 740 F. Supp: 2d :t240, 1252 (D. Kan.

2010). Thus, the court grants the motion to dismiss Marquez-Martinez's co~piracy claims.

       As for Marquez-Martinez's negligence claim, ''the essential elements of negligence [are]

duty, breach of duty, proximate cause, and damages." Camalier v. Jeffries, 340 N.C. 699, 706, 460

S.E.2d 133, 136 (1995); see Thomas v. Weddle, 167 N.C. App. 283, 286, 605 S.E.2d 244, 246

(2004). Proximate cause requires reasonable foreseeability. See, e.g., Hairston v. Alexander Tank

& Equip. Co., 310 N.C. 227, 233-34, 311 S.E.2d 559, 565 (1984). Although a plaintiff need not

prove that the precise injury that she suffered was foreseeable, a defendant is not liable for events

that are merely possible. See Thomas, 167 N.C. App. at 286--87, 605 S.E.2d at 246--47; Williamson

v. Lipm 141 N.C. App. 1, 10--11, 539 S.E.2d 313~ 319 (2000). "The test of proximate cause is

whether the risk of injury, not necessarily in the precise form in which it actually occurs, is within

the reasonable foresight of the defendant." Williams v. Carolina Power & Light Co., 296 N.C. 400,

403, 250 S.E.2d 255, 258 (1979).

       Marquez-Martinez has plausibly alleged that, as a transgender woman in an all-male priso~

the injuries that she suffered were foreseeable. See Compl. [D.E. 3]      ft 38, 40--41, 44, 59--61,

                                                 14

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  102-03. Thus, the court denies the motion to dismiss Marquez-Martinez's negligence claim.

         As for Marquez-Martinez's NIED claim, to state a claim for NIED, Marquez-Martinez must

  plausibly allege that "(l) the defendant negligently engaged in conduct, (2) it was reasonably

  foreseeable that such conduct would cause the plaintiff severe emotional distress ... , and (3) the

  conduct did in fact cause the plaintiff severe emotional distress." Johnson v. Ruark Obstetrics &

  GynecologyAssocs.• P.A., 327N.C. 283, 304, 395 S.E.2d 85, 97 (1990). "Allegations ofintentional

  conduct, even when construed liberally on a motion to dismiss, cannot satisfy the negligence element

  of an NIED claim." McClean v. Duke Univ., 376 F. Supp. 3d 585, 616 (M.D.N.C. 2019) (alteration

· · and quotation omitted); see Wilson v. Gaston Ccy., No. 3:13-CV-58-GCM, 2013 WL 1891276, at

  *4 (W.D.N.C. May 6, 2013) (unpublished); Home v. Cumberland Ccy. Hosp. Sys.. Inc., 228 N.C.

  App. 142, 149, 746 S.E.2d 13, 19 (2013). To the extent that Marquez~Martinez bases her NIED

  claim on the intentional acts of the correctional officers, the court grants the motion to dismiss.

  However, "[i]n North Carolina, evidence ofnegligent supervision by the supervisor of an employee

  can support a claim for negligent infliction of emotional distress." Pittman v. United States, No.

  5:10-CV-517-BO, 2012WL113568, at *4 (E.D.N.C. Jan. 13, 2012) (unpublished). Thus, the court

  denies the motion to dismiss Marquez-Martinez's NIED claim to the extent that she bases it on

  negligent supervision. See id.

        . As for Marquez-Martinez's obstruction ofjustice claim, "any actionintentiona11yundertaken

  by the defendant for the purpose of obstructing, impeding, or hindering the plaintiff's ability tp seek

  and obtain a legal remedy will suffice to support a claim for common law obstruction of justice."

  Blackbum v. Carbone, 208 N.C. App. 519, 527 & n.6, 703 S.E.2d 788, 795 & n.6 (2010). Marquez-

  Martinez plausibly alleged that Butner staff failed to preserve certain evidence that impedes her

  ability to prosecute this civil action. Thus, the court denies the motion to dismiss Marquez-

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Martinez's obstruction of justice claim. See Blackbmn, 208 N.C. App. at 526-27, 703 S.E.2d at

795; Jones v. City of Durham, 183 N.C. App. 57, 59, 643 S.E.2d 631, 633 (2007).

                                                m.
       The United States and the individual defendants move "for leave to file a responsive pleading

to [Marquez-Martinez]' s complaint should the Court determine [that she] has alleged a claim against

the individual [d]efendants pursuant to Bivens v. Six Unknown Named Agents of Federal Bureau

ofNarcotics, 403 U.S. 388 (1971)." [D.E. 60] 1. Marquez-Martinez's complaint does not contain

a Bivens claim. See Vaupel v. United States, 491 F. App'x 869, 874 (10th Cir. 2012) (unpublished).

       Marquez-Martinez may file an amended complaint seeking to allege a Bivens claim by July

29, 2019, and all defendants shall have thirty days thereafter to respond. See Fed. R. Civ. P.

15(a)(3). The court notes, however, the difficulty that Marquez-Martinez faces in seeking to extend

Bivens to the alleged circumstances of this case. See Ziglar v. Abbasi, 137 S. Ct. 1843, 1848-50,

1857--63 (2017); Doe v. Mero~ No. 18-2024, 2019 WL 2838403, at *8-10 (4th Cir. July 3, 2019);

Attkisson v. Holder, 925 F.3d 606, 620-22 (4th Cir. 2019); Tun:-Cos v. Perrotte, 922 F.3d 514,

521-28 (4th Cir. 2019). If Marquez-Martinez does not file an amended complaint seeking to assert

a Bivens claim, the court will dismiss all defendants other than the United States. See Fed. R Civ.

P. 12(e); cf. Iodice v. United States, 289 F.3d 270, 273 n.1 (4th Cir. 2002). The court will set a

deadline for the parties' Rule 26(f) meeting by separate order.

                                                IV.

       In sum, the court GRANTS IN PART the United States's motion to dismiss [D.E. 39] and

DISMISSES any FTCA claims for wrongful transfer and retaliation. See Fed. R Civ. P. 12(b)(l).

The court also DISMISSES any claim under Article I, Section 19 ofthe North Carolina Constitution,

any conspiracy claim, any NIED claim based on the intentional tortious actS of the correctional

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officer defendants, any claim under N.C. Gen. Stat. § 162-55 that is inconsistent with the duty in 18

U.S.C. § 4042, and Marquez-Martinez's request for treble damages. See Fed. R. Civ. P. 12(b)(6).

The court GRANTS IN PART the motions for leave to file a responsive pleading and to stay

discovery and expedite [D.E. 60, 61]. Marquez-Martinez may file an amended complaint seeking

to allege a Bivens claim by July 29, 2019, and all defendants shall have thirty days thereafter to file

a response. If Marquez-Martinez does not file an amended complaint seeking to assert a

Bivens claim, the court will dismiss all defendants other than the United States. The court will set

a deadline for the parties' Rule 26(t) meeting by separate order.

       SO ORDERED. This _j_ day of July 2019.




                                                             United States District Judge




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